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IN THE UNITED STATES DISTRICT COURT EOD ST PY ys 33
FOR THE DISTRICT OF NEW MEXICO

HENRY STACHURA, MLD. WS

 

Plaintiff, rj ng . 4 ig
VS. wel¥ Q 0 7 1 98 -
MEMORIAL MEDICAL CENTER, A Joe HK. Galvan

Private Non-Profit Corporation, Its
Board of Directors, JOHN DOES 1
Through 10, (And in its potential
Capacity as a County Supported
Public Hospital),

Defendants.

NOTICE OF REMOVAL

Defendants Memorial Medical Center (“MMC”) and its Board of Directors, by and through
their counsel of record, and hereby give notice of removal to this Court, pursuant to 28 U.S.C. §
1441(b), of the above-captioned action pending in the Third Judicial District for the State of New
Mexico, Dofia Ana County, New Mexico, as Cause No. CV-2000-1392. In support thereof,
Defendants state as follows:

1. This action was commenced by the filing of Henry Stachura’s Complaint for
Declaratory Judgment on December 11, 2000. See Exhibit A.

2. Defendants were served with the Complaint on December 11, 2000.

3. This Notice of Removal is timely filed under 28 U.S.C. § 1446(b) because it is filed
within 30 days after receipt by the Defendants of Dr. Stachura’s Complaint.

4. This Court has original jurisdiction over Dr. Stachura’s due process claims and claims
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under the Health Care Quality Improvement Act of 1986, 42 U.S.C. § 11101, et seg. See 28 U.S.C.
§ 1331 (covering federal question jurisdiction).

5. This Court has supplemental jurisdiction over Dr. Stachura’s state law claims pursuant
to 28 U.S.C. § 1367(a).

6. In addition to Exhibit A, the Defendants hereby attach a copy of all other process,
pleading and orders served upon them as Exhibit “B” pursuant to 28 U.S.C. § 1446(a).

7. All Defendants agree to the removal of this action.

8. Pursuant to 28 U.S.C. § 1446(d), Defendants are serving this Notice of Removal on
Counsel for Dr. Stachura and are filing it with the Clerk of the Dona Ana County, New Mexico Court
with a Notice of Filing.

Respectfully Submitted,

SANDENAW, CARRILLO & PIAZZA, P.C.

Yeoman OQ Fringe

Leonard J. Piazza

2951 Roadrunner Parkway

Las Cruces, New Mexico 88011
(505) 522-7500

Attorneys for Defendant

 
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CERTIFICATE OF MAILING

1, Leonard J. Piazza, hereby certify that on the LO*, day of December, 2000, a true and
correct copy of the foregoing was provided to counsel of record by U.S. mail, postage
prepaid, and properly addressed as follows:

Manual I. Arrieta
P. O. Box 1209
Las Cruces, NM 88004-1209

505-523-2481
amen Cy Cora —-

Leonard J. Piazza
Case 2:00-cv-01728-JHG Document 1. Filed 12/21/08 RE ORSED COPY

STATE OF NEW MEXICO
COUNTY OF DONA ANA OODEC Ti PM 3:04
THIRD JUDICIAL DISTRICT COURT neste Count
DGNA ANA COUNTY. MM
HENRY STACHURA, M_D., NADINE SANCHEZ
Plaintiff,
vs. No. CV- Aovo-l37¢
MEMORIAL MEDICAL CENTER, A Wither ws ean asmonen 70)

Private Non-Profit Corporation, Its
Board of Directors, JOHN DOES 1
Through 10, (And in its potential
Capacity as a county : supported
Public hospital),

Defendant.

COMPLAINT FOR DECLARATORY JUDGMENT, NOTICE FOR, AND AN
APPEAL FROM AN ADMINISTRATIVE REVIEW AND FOR CLAIM FOR DAMAGES

COMES NOW the Plaintiff HENRY STACHURA, M.D. by and through his
attorneys MILLER, STRATVERT & TORGERSON, P.A. (Manuel I. Arrieta) and in
support of his Complaint for Declaratory Judgment, for an Appeal from an
Administrative Review and for Claim of Damages hereby states as follows:

1. Plaintiff HENRY STACHURA, M.D., was at all times material a resident of
the state of New Mexico at the time of filing this action and further was at ail times
material engaged in the profession of general surgery in the southern New Mexico area.

2. Upon information and belief, Defendant MEMORIAL MEDICAL CENTER
was or is a non-profit private hospital or/is/was a county-supporied public hospital under
the statutes of the state of New Mexico.

3. At all times materia!, Plaintiff was a member of the medical staff of

MEMORIAL MEDICAL CENTER engaged in the profession of general surgery and

EXHIBIT

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subject to the hospital Medical Staff By-laws and the Rules and Regulations for the
Department of Surgery. The Medical Staff By-laws are attached as Exhibit A.

4. On or about March 20-21, 2000, Plaintiff consulted with another member
of the Defendant’s medical staff concerning a surgical procedure and during the course
of surgery, an adverse or sentinel event was alleged to have occurred through the
practice of the Plaintiff.

5. As a result of the surgical procedure undertaken at Defendant's medical
facility on or about March 20-21, 2000, the Defendant in alleged compliance with the
medical staff By-laws invoked a summary suspension proceeding against the Plaintiff.

6. In addition to the summary suspension of the Plaintiffs privileges,
Defendant continued with further proceedings under its By-laws to determine whether
Plaintiff's privileges at the hospital should be permanently terminated.

7. Contrary to the By-laws, the Defendant failed to follow its own rules and
further denied Plaintiff due process in the following forms:

a. Defendant failed to provide sufficient factual details or
documentation to notify Plaintiff of the proposed action;

b. Defendant refused and failed to disclose the names and addresses
of potential witnesses necessary for the defense of the Plaintiff in the administrative
proceeding;

Cc. Defendant allowed the main witness and complainant of Plaintiff's
actions to be involved and participate as a member of the Special Executive Committee

which investigated the incident under the By-laws (and which reported back to the
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Medical Executive Committee, from which report, the Medical Executive Committee
issued a recommendation to suspend and terminate Plaintiff's privileges);

d. Defendant allowed the main witness and complainant to testify as
the Defendant's expert on the standards of practice even though he was a complainant
and major competitor of Plaintiff, all contrary to the By-laws and due process
requirements;

e. The By-laws and the proceedings lacked appropriate standards
consistent with due process requirements and Plaintiff's right to a fair hearing; and

f. The Defendant inappropriately injected evidence relating to a prior
unrelated proceeding.

8. Under the By-laws the Plaintiff was afforded an “appeal” with the right to
present evidence, confront witnesses and other due process considerations before a
Special Judicial Review Panel. This hearing was held on August 17, 2000.

9. Under the Defendant's By-laws, the Special Judicial Review Panel issued
an adverse recommendation and submitted the recommendation to the CEO for the
Defendant.

40. The CEO for the Defendant then advised the Plaintiff of his right to appeal
from the adverse ruling from the Special Judicial Review Panel and pursuant to the By-
laws, the appeal at that stage would be limited “to procedural irregularities and a
determination of whether the findings and recommendations of the Executive
Committee were supported by substantial evidence”. The proceedings of the Executive

Committee were closed to the Plaintiff and did not allow for Plaintiff's right to confront
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witnesses, present evidence, and otherwise benefit from all the due process safeguards
as provided in the Special Judicial Review Panel hearing.

41. Onorabout November 1, 2000, the appeal before the Board of Directors
was heard from which the Board determined that there were no substantial procedural
irregularities in the process and that “there was substantial evidence in the record to
support the medical staff Executive Committee’s conclusion . . .". On behalf of
Defendant, the Board accepted the recommendations of the Executive Committee
without modification.

42. Defendant not only failed to conform to its own procedural requirements
as set forth in its By-laws, Rules and Regulations, but further the inherent process of the
By-laws themselves denied the Plaintiff procedural due process.

143. The evidence before the Defendant was insubstantial and as a resuit, the
action of the hospital board resulted in the arbitrary, capricious and unreasonable
revocation of the Plaintiffs privileges.

14. To the extent that the hospital can be categorized as a county-managed or
otherwise public hospital, sufficiently funded with public monies or managed by public
agencies, the Defendant had significant state involvement warranting the application of
constitutional due process under the Fourteenth Amendment of the United States
Constitution, the Constitution of the State of New Mexico and the denial of process was
done under color of state law.

45. Plaintiff has petitioned this Court for declaratory relief in that this
proceeding involves the character and nature of a quasi-public entity whose By-laws are

alleged to be unconstitutional and Plaintiff further requests that the Court enter
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appropriate relief determining the rights, status and legal relations of the parties
consistent with the laws of the state of New Mexico.

16. Plaintiff requests that this Court hoid the Defendant's By-laws and
proceedings are inherently flawed and therefore unconstitutional.

17. Plaintiff further petitions this Court for relief to determine whether there
has been a breach in the relations or contracts between the existing parties.

48. Plaintiff further petitions this Court for relief in the form of monetary
damages for the loss in income, reputation and opportunity suffered as a result of the
actions of the Defendant which if found to be tortious, immunity for said Defendant has
been waived under the New Mexico Tort Claims Act, with Defendant having actual
notice of the actions complained of.

49. Plaintiff further petitions this Court for relief in the form of vacating the
actions of the Defendant in terminating Plaintiff's privileges, and further ordering the
Defendant to notify all appropriate medical agencies and entities which Defendant has
heretofore contacted regarding the allegations made against the Plaintiff, and require
Defendant to either withdraw the allegations or advise the said agencies and entities in
writing that the suspension and/or termination proceedings have been vacated by order
of the Court.

20. Plaintiff further petitions this Court to order that Defendant seal the records
of the administrative proceedings against Plaintiff and that any related information not

be disclosed to any entity or third party by Defendant or any of its agents.
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21. Any immunity which Defendant might claim, has been waived or lost due
to Defendant's failure to provide adequate notice and hearing procedures pursuant to
the Health Care Quality Improvement Act, 42 USC 11101 et. seq.

WHEREFORE, HAVING SHOWN GOOD CAUSE, Defendant hereby requests
that this Court vacate the decision of the Board of Directors for Defendant, that
Defendant be required to withdraw any previous reports to third-party agencies, for
monetary damages, attorney’ s fees and costs, and for such other and further relief

requested and as deemed appropriate by this Court.

Respectfully submitted,

MILLER, STRATVERT & TORGERSON, P.A.

On

—

Manuel }Arrieta

Attorneys for Plaintiff Henry Stachura, M.D.
P.O.Aox 1209

Las'Cruces, New Mexico 88004-1209
(505) 523-2481

CERTIFICATE OF PERSONAL SERVICE

| hereby certify that on the 11" day of December, 2000, | had a true and correct
copy of a Summons and Complaint for Declaratory Judgment, Notice for, and an Appeal
from an Administrative Review and for Claim for Damages personally served upon
Leonard Piazza, Attorney at Law, Sandenaw, Carrillo & Piazza, P.C., 2951-A
Roadrunner Parkway, Las Cruces, New Mexico 8801 1.

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Manuel YArieta
_¢ Case 2:00-cv-01798-JHG Document1 Filed 12/21/0Q Page 10 of 12 op

STATE OF NEW MEXICO
COUNTY OF DONA ANA
THIRD JUDICIAL DISTRICT COURT

HENRY STACHURA, M.D.,

Plaintiff,
vs. No. CV- o> ( 92.
Judge
MEMORIAL MEDICAL CENTER, A
Private Non-Profit Corporation, Its “THIS CASE HAS BEEN ASSIGNED TO

Board of Directors, JOHN DOES 1 JUDGE JERALD A. VALENTINE
Through 10, (And in its potential

Capacity as a county supported

Public hospital),

Defendant.

SUMMONS

TO: MEMORIAL MEDICAL CENTER
cio Leonard Piazza, Attorney at Law
Sandenaw, Carrillo & Piazza, P.C.
2951-A Roadrunner Parkway
Las Cruces, New Mexico 88011

GREETINGS:

You are hereby directed to serve a pleading or motion in response to the complaint
within thirty (30) days after service of this summons, and file the same, all as provided by law.

You are notified that, unless you serve and file a responsive pleading or motion, the
plaintiff will apply to the court for the relief demanded in the complaint.

Attorney or attomeys for Plaintiff: © Manuel |. Arrieta, Attorney at Law
Miller, Stratvert & Torgerson, P.A.

Address of attorneys for Plaintiff: P. QO. Box 1209
Las Cruces, New Mexico 88004-1209
(505) 523-2481

WITNESS the Honorable Jerald A. Valentine , District Judge of the
Third Judicial District Courtof the State of New Mexico, and the seal of the District Court of said
County, this _{{t bay of 2000.

NADINE SANCHEZ
Clerk

py _ Elizabeth Vasquez
Deputy

 

EXHIBIT

 

 
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f° .

RETURN

STATE OF }
) ss,
COUNTY OF . )

{, being duly sworn, on oath, say that | am over the age of eighteen (18) years
and not a party to this lawsuit, and that | served the within Summons in
County on the day of , 2000, by delivering a copy
thereof, with copy of Complaint attached, in the following manner:

(check one box and fill in appropriate blanks)

[J to Defendant . (used when Defendant receives copy of
Summons or refuses to receive Summons)

1] to , @ person over fifteen (15) years of age and
residing at the usual place of abode of Defendant
who at the time of such service was absent therefrom.

[] by posting a copy of the Summons and Complaint in the most public part of the

 

 

 

 

premises of Defendant . (used if no person found at
dwelling house or usual place of abode)

[ ] to , an agent authorized to receive service of process
for Defendant

[ ] to , (parent) (guardian) of Defendant

 

. (used when Defendant is a minor or an

 

incompetent person)
[J to (name of person),
(title of person authorized to receive service).
(used when Defendant is corporation or association subject to a suit under a
common name, a land grant board of trustees, the State of New Mexico or any
political subdivision)

 

 

Fees:
Signature of Person Making Service
Title: Process Server
SUBSCRIBED AND SWORN to before me this day of

2000.

 

Judge, Notary or Other Officer
Authorized to Administer Oaths

Official Title: Notary Public

My Commission Expires:
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STATE OF NEW MEXICO
COUNTY OF DONA ANA

THIRD JUDICIAL DISTRICT COURT

HENRY STACHURA, M.D.,
Plaintiff,
VS.

MEMORIAL MEDICAL CENTER, A
Private Non-Profit Corporation, its
Board of Directors, JOHN DOES 1
Through 10, (And in its potential
Capacity as a county supported
Public hospital),

Defendant.

Sp ahaa)

No. cv. 2006-BIL
Judge Faleptenre/

PLAINTIFF’S EXERCISE OF PEREMPTORY CHALLENGE

COMES NOW the Plaintiff HENRY STACHURA, M.D. and pursuant to NMSA

1978, §38-3-9, hereby exercises his right of peremptory challenge to excuse the

Honorable Jerald E. Valentine.

Henry Stachura, M.D.

6428 Yarmouth Drive

Las Vegas, New Mexico 89108
(702) 395-5354

CERTIFICATE OF MAILING

I hereby certify that on the (GE, day of December, 2000, ! mailed a true and

 

correct copy of the foregoing pleading to opposing counsel of record Leonard Piazza,
Attorney at Law, Sandenaw, Carrillo & Piazza, P.C., 2951-A Roadrunner Parkway, Las

Cruces, New Mexico 88011.

Of 10

Henry Stachura, M.D.

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